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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


United States of America,                              Crim. No. 08-322 (DSD/SRN)

                  Plaintiff,

         v.                                            REPORT AND RECOMMENDATION

Antonio Ortiz Shinaul (03),

                  Defendant.


       Andrew Winter, United States Attorney’s Office, 600 United States Courthouse, 300
South Fourth Street, Minneapolis, Minnesota 55415, for Plaintiff United States of America

      Craig E. Cascarano, Cascarano Law Office, 150 South Fifth Street, Suite 3260,
Minneapolis, Minnesota 55402, for Defendant Antonio Ortiz Shinaul
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SUSAN RICHARD NELSON, United States Magistrate Judge

         The above-captioned case comes before the undersigned United States Magistrate Judge

on Defendant Antonio Ortiz Shinaul’s Motion to Suppress Evidence Obtained Through Search

(Doc. No. 39) and Motion to Suppress Search and Seizure Evidence (Doc. No. 42).1 In both

motions, Defendant Shinaul asks the Court to review a search warrant executed at 7980 Beard

Court in Brooklyn Park, Minnesota, for probable cause. The motions were referred to the

undersigned for a Report and Recommendation pursuant to 28 U.S.C. § 636 and District of

Minnesota Local Rule 72.1.

         Brooklyn Park Police Detective Brice Sand submitted the affidavit in support of the

search warrant. Detective Sand wrote that he had learned a man named “Tony” was planning to

purchase a large amount of cocaine from an undercover officer. At Detective Sand’s direction,


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             The Court will address Defendant Shinaul’s non-dispositive motions in a separate
Order.
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law enforcement officers conducted surveillance on 7980 Beard Court in Brooklyn Park, which

they had learned was Tony’s residence. Just before the purchase was scheduled to occur, the

officers saw numerous vehicles coming to and going from the home during a short period of

time. Based on Detective Sand’s experience, he believed that these people were bringing Tony

money to purchase cocaine. One of the cars was a 2007 Dodge Magnum driven by co-defendant

Michael Allen Barthel. About an hour and a half into the surveillance, Defendant Shinaul,

Defendant Barthel, and another individual left 7980 Beard Court in a tan Toyota Camry and

drove to a prearranged location to meet with the undercover officer. Defendant Shinaul

purchased the cocaine from the undercover officer, and the three men were arrested. During

further investigation, Detective Sand learned that the license plate of the tan Camry was

registered to Defendant Shinaul and listed an address of 7980 Beard Court in Brooklyn Park,

Minnesota. Defendant Shinaul’s driver’s license also listed that address, as did records of

previous police contacts with Defendant Shinaul.

        A reviewing court should accord “great deference” to a determination of probable cause.

Illinois v. Gates, 462 U.S. 213, 236 (1983) (citation omitted). The duty of a judge who signs a

warrant is “to make a practical, common-sense decision whether, given all the circumstances . . .,

there is a fair probability that contraband or evidence of a crime will be found in a particular

place.” Id. at 238. When an issuing court relies solely on an affidavit to determine whether

probable cause exists for a warrant, the reviewing court may consider “only that information

which is found within the four corners of the affidavit . . . in determining the existence of

probable cause.” United States v. Leichtling, 684 F.2d 553, 555 (8th Cir. 1982). The task for

the reviewing court is to ensure there was “a ‘substantial basis for . . . conclud[ing]’ that a search

would uncover evidence of wrongdoing.” Gates, 462 U.S. at 236 (quotation omitted) (ellipsis


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and modification in Gates).

          The Court finds that Detective Sand’s affidavit established probable cause for the search

warrant. The affidavit summarized the general aspects of the investigation as well as the details

of Defendant Shinaul’s purchase of cocaine from the undercover officer. The affidavit also

sufficiently established that 7980 Beard Court in Brooklyn Park, Minnesota, was Defendant

Shinaul’s address. Accordingly, Defendant Shinaul’s motions to suppress evidence should be

denied.



          Based upon all the files, records, and proceedings herein, IT IS HEREBY

RECOMMENDED that:

          1.     Defendant Antonio Ortiz Shinaul’s Motion to Suppress Evidence Obtained

                 Through Search (Doc. No. 39) be DENIED; and

          2.     Defendant Antonio Ortiz Shinaul’s Motion to Suppress Search and Seizure

                 Evidence (Doc. No. 42) be DENIED.


Dated: November 17, 2008

                                               s/ Susan Richard Nelson
                                               SUSAN RICHARD NELSON
                                               United States Magistrate Judge

Pursuant to D. Minn. LR 72.2(b), any party may object to this Report and Recommendation by
filing with the Clerk of Court, and serving all parties by December 2, 2008 , a writing which
specifically identifies those portions of this Report to which objections are made and the basis of
those objections. Failure to comply with this procedure may operate as a forfeiture of the
objecting party’s right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within ten days after service thereof. A judge shall make a de novo
determination of those portions to which objection is made. This Report and Recommendation
does not constitute an order or judgment of the District Court, and it is therefore not appealable
to the Court of Appeals.



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